                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF LOUISIANA

TANIZIA WILLIAMS, on behalf of herself         )   CIVIL ACTION NO.: 18-2793
and all those similarly situated,              )
                                               )
                                               )   SECTION: H
       Plaintiff,                              )   JUDGE JANE TRICHE MILAZZO
                                               )
       vs.                                     )
                                               )   MAGISTRATE: 1
                                               )
SUPERIOR HOSPITALITY STAFFING,                 )   MAGISTRATE JUDGE JANIS VAN
INC.; SUPERIOR HOSPITALITY                     )   MEERVELD
SYSTEMS, INC.; SUPERIOR                        )
HOSPITALITY SYSTEMS
MANAGEMENT, INC.; SUPERIOR
HOSPITALITY JANITORIAL SERVICES,
INC. and SHANE MILLIET,

       Defendants.


       OPPOSITION TO DEFENDANTS’ SECOND MOTION TO DISMISS

       NOW INTO COURT through undersigned counsel comes Plaintiff, Tanzania

Williams, who submits the following Opposition to Defendants’ Motion to Dismiss for

Lack of Personal Jurisdiction and Insufficiency of Process and Motion to Quash Pursuant

to Federal Rule of Civil Procedure 12(b)(1) & (5) (“the Motion”). Though styled as a

motion to dismiss due to lack of personal jurisdiction, it appears that the substance of

Defendants’ argument is that Plaintiff’s Complaint should be dismissed against

Defendants SHS Group, Superior Hospitality Staffing and SHS Management, Inc. due to

insufficient service of process. Specifically, Defendants assert that Shane Milliet may not

be served on behalf of SHS Group, Superior Hospitality Staffing and SHS Management,

Inc. because they are not incorporated entities and he is therefore not listed as the

registered agent for these entities.    Defendants’ argument is misplaced.        Because

Defendants SHS Group, Superior Hospitality Staffing and SHS Management, Inc. are not
incorporated entities or trade names associated with incorporated entities, they have been

sued as names under which Shane Milliet, individually, does business, (see First Am.

Compl. at ¶¶5(a),(c) and (e) and 34.) meaning that they are sole proprietorships and

service upon him is sufficient to effect service upon these Defendants. To the extent that

Defendants assert that SHS Group, Superior Hospitality Staffing and SHS Management,

Inc. are not sole proprietorships or otherwise names under which Shane Milliet does

business, rather than dismiss these Defendants (one of which issued Plaintiff’s paychecks

and two others which held themselves out via business cards, time sheets and a website as

her employer), the proper remedy would be to allow Plaintiff to take the limited

deposition of Shane Milliet (who has answered the First Amended and Supplemental

Complaint and is the sole person associated with these business names) for the purpose of

identifying the correct entity or entities to be served so as to effectuate service of process

and allow this matter to move forward. Accordingly, Defendants’ motion should be

denied.

                                LAW AND ARGUMENT

          Louisiana law recognizes two kinds of persons: natural persons and juridical

persons. Louisiana Code of Civil Procedure art. 24. A juridical person is defined as an

entity to which the law attributes personality, such as a corporation or a

partnership. Id. The code further provides that the personality of a juridical person is

distinct from that of its members. Id.; see also Robinson v. Heard, 809 So.2d 943, 945

(La. 2002). Black's Law Dictionary defines a sole proprietorship as “[a] form of business

in which one person owns all the assets of the business in contrast to a partnership, trust

or corporation. The sole proprietor is solely liable for all the debts of the business.”




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Robinson, 809 So.2d at 946 (quoting BLACK'S LAW DICTIONARY 1392 (6th

ed.1990).

       A sole proprietorship is not a legal entity. It is merely a designation assigned to a

manner of doing business by an individual. Robinson, 809 So.2d at 946. While the

individual involved in the sole proprietorship may consider the business to be separate

and distinct from his/her person, there exists no legal distinction between the individual

and the business. See Trombley v. Allstate Insurance Co., 93-1669, pp. 3-4 (La. App. 3

Cir. 6/1/94), 640 So.2d 815, 817; see also Haddad v. Elkhateeb, 46 So.3d 244, 250-51

(La. App. 4 Cir. 2010).

       Louisiana Code of Civil Procedure Article 736 provides that “A person who does

business under a trade name is the proper defendant in an action to enforce an obligation

created by or arising out of the doing of such business.” The comments to Article 736

elaborate further: “It has been held that a suit brought against the owner only in the trade

name used was sufficient to justify rendition of judgment against the owner…It is

regarded as being completely unsound, since the business being done under a trade name

is not a legal entity, and is without procedural capacity or status.”         Thus, “‘The

designation ‘d/b/a’ means ‘doing business as’ but is merely descriptive of the person or

corporation who does business under some other name. Doing business under another

name does not create an entity distinct from the person operating the business. The

individual who does business as a sole proprietor under one or several names remains one

person ...’” Krawfish Kitchen Restaurant, Inc. v. Ardoin, 396 So.2d 990, 993 (La. App.

3 Cir.1981).




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       Thus, because SHS Group, Superior Hospitality Staffing and SHS Management,

Inc. are not registered or separate entities or registered trade names, they are merely

names under which Shane Milliet does business as a sole proprietor, facts which Plaintiff

clearly pled in Paragraphs 5(a),(c) and (e) and 34. of the First Amended and

Supplemental Complaint. To successfully accomplish service upon a sole proprietorship,

such as the Defendants here, Plaintiff must serve the sole proprietor personally or by

domiciliary service. FED. R. CIV. P. 4(e); La. Code Civ. P. arts. 1232, 1234; Phillips v.

QBE Speciality Insurance Co., No. 15-2019 (E.D. La. 11/1/16). Here, Shane Milliet was

served with the First Amended and Supplemental Complaint as an individual joint

employer and as the person that is legally responsible for the liabilities of SHS Group,

Superior Hospitality Staffing and SHS Management, Inc., which are trade names under

which he clearly operates as a sole proprietor. See Ex. A, Business Cards, Ex. B,

Timesheets, Ex. C, Website. Thus, service upon him was proper.               Accordingly,

Defendants’ motion should be dismissed.


                                                   Respectfully submitted,

                                            /s/ Mary Bubbett Jackson                  _
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